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 8                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
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10   JOHN MICHAEL HENDERSON,                 )   Case No.: 2:20-cv-05928-SHK
                                             )
11               Plaintiff,                  )   {PROPOSED} ORDER AWARDING
                                             )   EQUAL ACCESS TO JUSTICE ACT
12         vs.                               )   ATTORNEY FEES AND EXPENSES
                                             )   PURSUANT TO 28 U.S.C. § 2412(d)
13   KILOLO KIJAKAZI,                        )   AND COSTS PURSUANT TO 28
     Acting Commissioner of Social           )   U.S.C. § 1920
14   Security,                               )
                                             )
15               Defendant                   )
                                             )
16
17         Based upon the parties’ Stipulation for the Award and Payment of Equal

18   Access to Justice Act Fees, Costs, and Expenses:

19         IT IS ORDERED that fees and expenses in the amount of $4,616.35 as

20   authorized by 28 U.S.C. § 2412, and costs in the amount of $400.00 as authorized

21   by 28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.

22   DATE: 10/25/2021

23                            ___________________________________
                              THE HONORABLE SHASHI KEWALRAMANI
24                            UNITED STATES MAGISTRATE JUDGE

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